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IT IS SO ORDERED.

SIGNED THIS: April 4, 2017




                             ______________________________
                                      Thomas L. Perkins
                               United States Bankruptcy Judge
 ___________________________________________________________



                          UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

In Re:                                          Case No. 16-90899
                                                 Chapter 13
          Robert William Woodard,

                       Debtor.                  Honorable Thomas L. Perkins

                                  AGREED DEFAULT ORDER

          THIS CAUSE coming on to be heard upon the Motion for Relief from Automatic Stay
and Motion for Relief from Co-Debtor Stay filed on behalf of PNC Bank, National Association,
(hereinafter referred to as "Movant"), a secured creditor or servicing agent for a secured
creditor holding a lien on Debtor's, and Co-Debtor
V, Jennifer Woodard, property commonly
known as 1476 E County Road 800 North, Tuscola, Illinois 61953 (hereinafter referred to as the
"Property"), all parties having notice, the Court having jurisdiction and being fully advised:
          IT IS HEREBY ORDERED:
          1.    In addition to making the regular post-petition mortgage payments timely, Debtor
shall cure the remaining arrears of $9,003.14 through March 31, 2017, by making 6 monthly
payments of $1,500.52 commencing on April 15, 2017. The arrears include:
                $1,031.00 attorney fees and costs;
                5 (November 2016 - March 2017) payments @ $1,906.08 = $9,530.40; and
                Less funds in Debtor's suspense account in the approximate amount of $1,558.26
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        2.      If the Debtor fails to timely pay two or more (i) regular monthly mortgage
payments increased or decreased as necessary to reflect changes in variable interest rates, escrow
requirements, collection costs, or similar matters; (ii) plan payments to the Chapter 13 Trustee;
(iii) payments for property insurance and/or general real estate taxes; or (iv) Debtor fails to cure
the arrears pursuant to paragraph 1 above, then the Debtor shall be deemed to be in default and
the automatic stay and Co-Debtor Stay shall be terminated as to the Property without further
order of this Court, if upon written notice of the default to Debtor, Co-Debtor, and Debtor
attorneys, the default is not cured within fourteen (14) days from the date the written notice of
the default is mailed.
        3.      The Debtor may avail himself of the cure provision set forth in paragraph 1 or 2
above a total of two (2) times. In the event of the issuance of a third (3rd) Notice of Default, the
Automatic Stay and Co-Debtor Stay will automatically modify without further Order as Debtor
will no longer have the right to cure thereunder.
        4.      The Proof of Claim heretofore submitted by Movant shall stand unaffected and
payments made thereunder shall be paid to Movant unless a Notice of Default and Notice of
Lifting are presented to the Trustee.
        5.      If the Debtor's Bankruptcy case is dismissed or converted to another Chapter, this
agreed repayment order shall be void.
        6.      In the event that Heavner, Beyers & Mihlar, LLC should have to send out any
Notices of Default, the Debtor shall pay an extra $50.00 per notice, as additional attorneys' fees,
in addition to whatever funds are needed to cure the default and that said additional funds must
be tendered prior to the expiration of the cure period as set-forth in the Notice.
AGREED:
PNC Bank, National Association,                        Robert William Woodard,

   /s/ Amanda J. Doyle                                  V&ULVWLQD00DQXHO
Amanda J. Doyle                                        Cristina M Manuel, his attorney
one of its attorneys

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